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LINES INSURANCE COMPANY

Cc wm nN Nn vA FR W NY

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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CALIFORNIA SPECIALTY Case No.
INSULATION, INC.,

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& INSURANCE COMPANY, and DOES

oO 17 | 1 THROUGH 10, inclusive,

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18 Defendant.
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20 | TO THE HONORABLE COURT AND ALL COUNSEL OF RECORD:
21 PLEASE TAKE NOTICE THAT Defendant ALLIED WORLD SURPLUS
22 | LINES INSURANCE COMPANY (“Allied World”) hereby removes this action
23 || form the Superior Court of California, County of Los Angeles, to the United States
24 || District Court, Central District of California, under 28 U.S.C. §§ 1332, 1441 and
25 || 1446, on the grounds that the Court has original diversity jurisdiction.
26 1. On or about February 22, 2021, Plaintiff CALIFORNIA SPECIALTY
27 | INSULATION, INC. (‘Plaintiff’) filed a complaint against Allied World in the
28 | Superior Court of the State of California, County of Los Angeles, Case No.

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NOTICE OF REMOVAL

 

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21STCV06969. The complaint named as defendants Allied World and unnamed
DOES | through 10. A copy of the complaint is attached as Exhibit A.

2. Plaintiff served Allied World with summons and complaint on March
3, 2021. As such, this Notice of Removal is timely under 28 U.S.C. § 1446(b).

3. This action is a civil action of which this Court has original jurisdiction
under 28 U.S.C. § 1332(a) and is one in which it may be removed to this Court by
Allied World pursuant to the provisions of 28 U.S.C. § 1441(a).

4, Jurisdiction exists under 28 U.S.C. § 1332(a) as complete diversity
exists between Plaintiff and Allied World, and amount in controversy is in excess of
$75,000.

5. At the time of the filing of this action, Allied World was, and still is, a
corporation incorporated under the laws of the State of Arkansas, having its principal
place of business in New York.

6. Upon information and belief, and according to the California Secretary
of State’s website, Plaintiff is a corporation incorporated under the laws of the State
of California, with its principal place of business in the State of California. To that
end, there is complete diversity of citizenship between Plaintiff and all named
Defendants.

7. Plaintiff seeks a declaration that Allied World has a duty to defend and
indemnify it in an underlying third-party lawsuit entitled Jason Standiford v.
California Specialty Insulation, Inc., et al., California Superior Court, County of Los
Angeles, Case No. 19STCV36103 (“Underlying Action”).

8. In the Underlying Action, Jason Standiford (“Claimant”) is seeking to
recover damages for injuries he sustained when an employee of Plaintiff drove a
scissor lift into a ladder on which Claimant was working, causing him to fall 16 to
20 feet to the ground.

9. Upon information and belief, and according to the Complaint, Claimant

suffered a fractured skull, injuries to both shoulders, neck and wrist, lost

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NOTICE OF REMOVAL

 

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consciousness and suffered a concussion as a result of the incident. To that end,
upon information and belief, Claimant is seeking damages in excess of $75,000.

10. Plaintiff is seeking a declaration that Allied World has a duty to defend
and indemnify it from a claim in excess of $75,000. As such, the amount of
controversy is in excess of the jurisdictional limit.

11. Allied World's Notice to Removal is being contemporaneously filed in
the Superior Court of California, County of Los Angeles, Case No. 21STCV06969.

WHEREFORE, Defendant Allied World hereby removes this action from
the Superior Court of the State of California, County of Los Angeles, to this United
States District Court for the Central District of California.

Dated: March 22, 2021 SELMAN BREITMAN LLP

By: /s/Gregory J. Newman

GREGORY J. NEWMAN

HEE SUNG YOON
Attorneys for Defendant ALLIED WORLD
SURPLUS LINES INSURANCE
COMPANY

 

NOTICE OF REMOVAL

 

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